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 7
                                 UNITED STATES DISTRICT COURT
 8                             NORTHERN DISTRICT OF CALIFORNIA
 9
     EDWIN ISAAC, derivatively on behalf of
10   ENPHASE ENERGY, INC.,                               Case No.:

11                                                       VERIFIED STOCKHOLDER
                             Plaintiff,
                                                         DERIVATIVE COMPLAINT
12
             v.
13                                                       JURY TRIAL DEMANDED
     BADRINARAYANAN KOTHANDARAMAN,
14   MANDY YANG, STEVEN J. GOMO, JAMIE
     HAENGGI, BENJAMIN KORTLANG,
15
     JOSEPH MALCHOW, RICHARD MORA, and
16   THURMAN JOHN RODGERS,

17                           Defendants,

18          and

19   ENPHASE ENERGY, INC.,
20                           Nominal Defendant.
21

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24

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 1                                           INTRODUCTION

 2          Plaintiff Edwin Isaac (“Plaintiff”), by and through his counsel, derivatively on behalf of

 3 Nominal Defendant Enphase Energy, Inc. (“Enphase” or the “Company”), submits this Verified

 4 Stockholder Derivative Complaint against Defendants (as defined herein) and alleges the following

 5 upon information and belief, except as to those allegations concerning Plaintiff, which are alleged

 6 upon personal knowledge. Plaintiff’s information and belief is based upon, among other things, his

 7 counsel’s investigation, which included, inter alia, review and analysis of (i) regulatory filings made

 8 by Enphase with the United States Securities and Exchange Commission (“SEC”); (ii) press releases
 9 issued and disseminated by Enphase; (iii) a securities class action against certain officers and

10 members of the Company’s Board of Directors (the “Board”) alleging issuance of false and

11 misleading statements of material fact and the omission of material facts necessary to make other

12 statements made not misleading between December 12, 2022 and April 25, 2023 (the “Relevant

13 Period”) with respect to Enphase’s business, operations, and prospects; and (iv) other publicly

14 available information concerning Enphase.

15                                     NATURE OF THE ACTION
16          1.      This is a stockholder derivative action asserted on behalf of Nominal Defendant

17 Enphase against certain officers and the members of the Company’s Board for the claims asserted

18 herein to recover damages caused to the Company as described herein.

19          2.      Enphase is a Delaware corporation headquartered in Fremont, California. The

20 Company is a global energy technology company specializing in designing, developing, and

21 manufacturing home energy solutions, including solar microinverters, battery energy storage, and

22 electric vehicle (“EV”) charging stations. The Company’s products and services aim to manage

23 energy generation, energy storage, energy control, and communications on one platform, and are

24 marketed to solar distributors, large installers, original equipment manufacturers, strategic partners,

25 and homeowners.

26          3.      On February 7, 2023, Enphase issued a press release announcing the Company’s

27 financial results for the fourth quarter and full year for the period year ending December 31, 2022,
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 1 along with an optimistic financial outlook for 2023 (the “February 2023 Press Release”). The

 2 February 2023 Press Release reported “[r]ecord quarterly revenue of $724.7 million” and a non-

 3 GAAP gross margin of 43.8%. It also issued guidance for Enphase’s first quarter 2023 revenue to

 4 be within the range of $700 million to $740 million, including shipments of 100 to 120 megawatt-

 5 hours of Enphase IQ Batteries.

 6          4.     On the same day, the Company held an earnings call, during which defendants

 7 Badrinarayanan Kothandaraman (“Kothandaraman”) and Mandy Yang (“Yang”) highlighted

 8 Enphase’s record quarterly revenue for first quarter 2023, downplaying any impact from seasonality
 9 or a challenging macro environment on sales and revenue growth. The Company attributed the first

10 quarter revenue projections to the anticipated increase in manufacturing higher-margin IQ8

11 microinverters in Europe and the United States, the rollout of third-generation battery technology,

12 and entry into new markets.

13          5.     Unbeknownst to investors, the Individual Defendants (defined herein) concealed
14 several material adverse facts, making or causing the Company to make materially false and

15 misleading statements about the Company’s business, operations, and prospects. Specifically, they

16 failed to disclose to investors that the Company was experiencing, inter alia, (i) slower battery

17 shipment and adoption, including decreased battery shipments to Europe and California; (ii) harmful

18 impact due to the rising interest rates on the Company’s microinverter deployments to Arizona and

19 Florida; (iii) an extended transition period with net energy metering (“NEM”) 3.0; and (iv) slower

20 inverter output from newly created U.S.-based manufacturing lines. As a result, the Individual

21 Defendants’ positive statements about the Company’s business, operations, and prospects were

22 materially false, misleading, and lacked a reasonable basis.

23          6.     The Individual Defendants breached their fiduciary duties by failing to correct and

24 causing the Company to fail to correct these false and misleading statements and omissions of

25 material fact. The Individual Defendants also willfully or recklessly caused the Company to fail to

26 maintain an adequate system of oversight, disclosure controls and procedures, and internal controls.

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 1          7.      On April 25, 2023, Enphase issued a press release revealing its first quarter 2023

 2 financial results and a weak revenue forecast for the second quarter of 2023, disclosing the adverse

 3 facts previously concealed from investors (the “April 2023 Press Release”).

 4          8.      On this news, the Company’s stock price declined $56.77, or nearly 26%, from a

 5 closing price of $220.60 per share on April 25, 2023, to close at $163.83 on April 26, 2023.

 6 Enphase’s stock price has yet to return to its pre-disclosure price.

 7          9.      As a direct and proximate result of the misconduct described herein by the Individual

 8 Defendants, Enphase has sustained significant damages as explained below.
 9                                    JURISDICTION AND VENUE
10          10.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the

11 Complaint alleges a claim for violations of Sections 10(b) and 21D of the Securities Exchange Act

12 of 1934 (the “Exchange Act”) (15 U.S.C. § 78j(b), 15 U.S.C. § 78u-4(f)) and SEC Rule 10b-5

13 promulgated thereunder (17 C.F.R. § 240.10b-5), as well as Section 14 of the Exchange Act (15

14 U.S.C. § 78n(a)(1)) and SEC Rule 14a-9 promulgated thereunder (17 C.F.R. § 240-.14a-9). The

15 Court has supplemental jurisdiction over the pendent state law claims pursuant to 28 U.S.C.

16 § 1367(a) because the state law claims form part of the same case or controversy. This action is not

17 a collusive one designed to confer jurisdiction on a court of the United States that it would not

18 otherwise have.

19          11.     This Court has jurisdiction over each defendant because they reside in this District or

20 have sufficient minimum contacts with this District to render the exercise of jurisdiction by the Court

21 permissible under traditional notions of fair play and substantial justice. The Court has personal

22 jurisdiction over Nominal Defendant Enphase because it is authorized to do business in this state.

23          12.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

24 portion of the transactions and wrongs complained of herein, including the defendants’ primary

25 participation in the wrongful acts detailed herein and violation of fiduciary duties owed to Enphase.

26 Venue is also proper pursuant to 28 U.S.C. § 1401 because Nominal Defendant Enphase could have

27 sued the same defendants in this District.
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 1                                                PARTIES

 2          13.    Plaintiff is an Enphase stockholder and has continuously held Enphase stock from

 3 the time of the wrongdoing alleged herein until the present. Plaintiff will fairly and adequately

 4 represent Enphase’s interest in this action.

 5          14.    Nominal Defendant Enphase is incorporated under the laws of Delaware, and its

 6 principal executive offices are located at 47281 Bayside Parkway, Fremont, California 94538.

 7 Enphase’s common stock trades on the Nasdaq exchange under the symbol “ENPH.”

 8          15.    Defendant Kothandaraman has served as Enphase’s President and Chief Executive
 9 Officer (“CEO”) since September 2017, and as member of the Board since May 2018. Prior to the

10 Relevant Period, he also served as the Company’s Chief Operating Officer. Kothandaraman

11 received $16,627,977 in total compensation in 2022. Kothandaraman received $19,527,534 in total

12 compensation in 2023.

13          16.    Defendant Yang has served as the Company’s Chief Financial Officer (“CFO”) since
14 February 15, 2022, and as the Company’s Vice President since October 2018. Yang previously

15 served as Chief Accounting Officer and Corporate Treasurer from 2018. Yang received $11,990,581

16 in total compensation in 2022. Yang received $6,656,267 in total compensation in 2023.

17          17.    Defendant Steven J. Gomo (“Gomo”) has served as a member of the Board since
18 March 2011, and as Chair of the Board since October 2022. He has served as Chair of the Audit

19 Committee since January 2018. Gomo received $374,862 in total compensation in 2022, and

20 $374,991 in total compensation in 2023.

21          18.    Defendant Jamie Haenggi (“Haenggi”) has served as a member of the Board since

22 August 2020. Haenggi received $314,872 in total compensation in 2022, and $314,852 in total

23 compensation in 2023.

24          19.    Defendant Benjamin Kortlang (“Kortlang”) has served as a member of the Board

25 since May 2010, and has served as a member of the Audit Committee since at least January 2018.

26 Kortlang received $334,872 in total compensation in 2022, and $334,852 in total compensation in

27 2023.
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 1         20.     Defendant Joseph Malchow (“Malchow”) has served as a member of the Board since

 2 February 2020. Malchow received $309,872 in total compensation in 2022, and $309,852 in total

 3 compensation in 2023.

 4         21.     Defendant Richard Mora (“Mora”) has served as a member of the Board since

 5 February 2014, and has served as a member of the Audit Committee since January 2018. On

 6 March 3, 2023, while in possession of material non-public information, Mora sold 4,500 shares of

 7 Company stock at an artificially inflated price for proceeds of $965,774.70. Mora received $334,872

 8 in total compensation in 2022, and $334,852 in total compensation in 2023.
 9         22.     Defendant Thurman John Rodgers (“Rodgers”) has served as a member of the Board
10 since January 2017. Rodgers received $334,872 in total compensation in 2022, and $334,852 in

11 total compensation in 2023.

12         23.     The following defendants are hereinafter referred to as the “Individual Defendants”:
13 Kothandaraman, Yang, Gomo, Haenggi, Kortlang, Malchow, Mora, and Rodgers.

14         24.     The following Individual Defendants are collectively referenced herein as the
15 “Director Defendants”: Kothandaraman, Gomo, Haenggi, Kortlang, Malchow, Mora, and Rodgers.

16         25.     The following Individual Defendants are collectively referenced herein as the “Audit
17 Committee Defendants”: Gomo, Kortlang, and Mora.

18         26.     The following Individual Defendants are collectively referenced herein as the

19 “Securities Action Defendants”: Kothandaraman and Yang.

20         27.     The Individual Defendants and Nominal Defendant are collectively referenced herein

21 as “Defendants.”

22                     THE INDIVIDUAL DEFENDANTS OWE FIDUCIARY
                      DUTIES TO THE COMPANY AND ITS STOCKHOLDERS
23

24         28.     At all times relevant to this case, the conduct of the Individual Defendants was

25 governed by well-recognized rules to protect the Company and its Stockholders, the members of the

26 public who had invested in Enphase.

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 1          29.    Because of their positions as officers and/or directors of the Company and their

 2 ability to control its business and corporate affairs, the Individual Defendants owed the Company

 3 and its stockholders the fiduciary obligations of good faith, loyalty, and candor and were and are

 4 required to use their utmost ability to control and manage the Company in a fair, just, honest, and

 5 equitable manner.

 6          30.    The Individual Defendants were and are required to act in furtherance of the best

 7 interests of the Company and its stockholders to benefit all stockholders equally and not in

 8 furtherance of their personal interest or benefit.
 9          31.    Each of the Company’s directors owes to the Company and its stockholders fiduciary
10 duties of care and loyalty, including good faith, oversight, and candor, to exercise good faith and

11 diligence in the administration of the affairs of the Company and in the use and preservation of its

12 property and assets.

13          32.    Because of their positions of control and authority as directors and/or officers of the
14 Company, the Individual Defendants were able to and did, directly and/or indirectly, exercise control

15 over the wrongful acts alleged herein.

16          33.    To discharge their duties, the Individual Defendants were required to exercise
17 reasonable and prudent supervision over the management, policies, practices, and controls of the

18 Company. By virtue of such duties, the officers and directors of Enphase were required to do the

19 following:

20                 •       Ensure that the Company complied with its legal obligations and

21                         requirements, including acting only within the scope of its legal authority and

22                         disseminating truthful and accurate statements to the SEC and the investing

23                         public;

24                 •       Conduct the affairs of the Company in a lawful, efficient, and business-like

25                         manner to make it possible for the Company to provide the highest quality

26                         performance of its business, to avoid wasting the Company’s assets, and to

27                        maximize the value of the Company’s stock;
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 1                 •       Properly and accurately inform investors and analysts as to the true financial

 2                         condition of the Company at any given time, make accurate statements about

 3                         the Company’s financial results and prospects, and ensure that the Company

 4                         maintained an adequate system of financial controls such that the Company’s

 5                         financial reporting would be true and accurate at all times;

 6                 •       Remain informed as to how the Company conducted its operations, and, upon

 7                         notice of imprudent or unsound conditions or practices, make reasonable

 8                         inquiry into the nature and cause of such conditions and practices, correct
 9                         such conditions or practices, and make such disclosures as necessary to
10                         comply with federal and state securities laws; and
11                 •       Ensure that the Company was operated in a diligent, honest, and prudent
12                         manner in compliance with all applicable federal, state, and local laws, rules,
13                         and regulations.
14          34.    The Individual Defendants knowingly violated their obligations as directors and
15 officers of the Company, acting without good faith and consciously disregarding their duties to the

16 Company and its Stockholders despite their knowledge of the risk of serious injury to the Company.

17          35.    Because of their positions of control and authority, the Individual Defendants were
18 able to exercise control over the wrongful acts complained of herein, as well as the contents of the

19 various public statements issued by Enphase.

20                        SPECIFIC CORPORATE GOVERNANCE
                    RESPONSIBILITIES OF THE INDIVIDUAL DEFENDANTS
21

22          36.    The Enphase Board has adopted Enphase’s Code of Conduct (“Code of Conduct”) to

23 deter wrongdoing. The Code of Conduct imposes additional duties and responsibilities on the

24 Individual Defendants, including the following:

25                 2. Compliance with Laws, Rules and Regulations.
26                 Enphase Representatives must respect and obey the laws of the cities, states
                   and countries in which Enphase operates. Enphase Representatives should
27                 strive to understand the legal and regulatory requirements applicable to their
                                                      7
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             business units and areas of responsibility and should seek advice from
 1           managers or other appropriate individuals in case of any uncertainty.
             Violation of laws, rules and regulations may subject you, as well as Enphase,
 2           to civil and criminal penalties. Each Enphase Supplier must respect, obey and
             comply with the laws applicable to its business activities.
 3
             3. Accurate Financial Records.
 4
             Enphase’s financial records must be accurate and complete in all material
 5           respects. They must be in compliance with laws and accounting practices.
             The Finance department is responsible for preparing and reporting Enphase’s
 6           financial results, but those financial statements are the result of activities,
             transactions, entries and documents prepared throughout Enphase by many
 7           people. Enphase Representatives must make sure all such supporting
             transactions and documents are complete, accurate, and truthful. Enphase
 8           Suppliers will use commercially reasonably efforts to assist Enphase with its
             compliance objectives under this section. No Enphase Representative or
 9           Enphase Supplier may take or authorize any action that would cause our
             financial records or financial disclosure to fail to comply with generally
10           accepted accounting principles, the rules and regulations of the [SEC], and
             other laws, rules and regulations, or take any action to fraudulently induce,
11           coerce, manipulate or mislead the Finance department or our independent
             auditors. No Enphase Representative or Enphase Supplier should knowingly
12           allow Enphase to make any false or misleading statement or omit information
             necessary to make any of Enphase’s statements and reports accurate. Any
13           person who becomes aware of any departure from these standards has a
             responsibility to report their knowledge promptly to their manager (if
14           applicable), HR, Legal or via the Whistleblower Hotline.
15                                          *      *       *
16           4. Insider Trading.
17           All material non-public information about Enphase, our vendors, business
             partners and customers should be considered confidential, and Enphase
18           Representatives and Enphase Suppliers who have access to such information
             should use it only for legitimate Enphase business. The use of any material,
19           non-public information to buy stock, or “tip” others, is unethical and illegal.
20                                          *      *       *
21           7. Avoid Conflicts of Interest.
22           A “conflict of interest” exists when a person’s private interest interferes in
             any way with the interests of Enphase. Conflicts of interest may arise when
23           an Enphase Representative, or a member of their family, receives improper
             personal benefits as a result of their position with Enphase. A conflict of
24           interest can also arise when an Enphase Representative takes actions or has
             interests that make it difficult to perform their work objectively and
25           effectively.
26           Conflicts of interest are prohibited, unless specially approved by the
             Compliance Officer. If you have any questions about a potential conflict of
27           interest or if you become aware of an actual or potential conflict of interest,
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                  you should discuss the matter with your manager, HR or Legal. Managers
 1                may not authorize conflicts of interest or make determinations as to whether
                  a problematic conflict of interest exists without first seeking the approval of
 2                the Compliance Officer. If your manager is involved in the potential or actual
                  conflict of interest, you should contact HR, Legal, or use the Whistleblower
 3                Hotline. Any conflict of interest situation involving an executive officer or
                  director, including all loans and guarantees by Enphase involving persons
 4                covered by this Code, also requires the authorization of the Audit Committee
                  of the Board of Directors (“Audit Committee”).
 5
                                                 *      *       *
 6
                  10. Confidential Information.
 7
                  Much of the information to which Enphase Representatives have access to at
 8                Enphase is confidential, privileged, or proprietary. Such information should
                  not be disclosed to individuals outside of Enphase, except where required for
 9                [C]ompany-related business and covered by the terms of a Nondisclosure
                  Agreement with the receiving individual or entity. In the course of serving
10                our customers, Enphase Representatives may also learn confidential or
                  proprietary information about them, and it is equally important that Enphase
11                Representatives guard against the disclosure of their confidential information
                  to others. Competitive information must be gathered with care, and not be
12                acquired in ways that are unethical or illegal.
13                                               *      *       *
14                12. Use of Company Assets and Technological Resources.
15                All Enphase Representatives and Enphase Suppliers (to the extent applicable)
                  are expected to protect our assets and ensure their efficient use. Theft,
16                carelessness and waste have a direct impact on our profitability. Although
                  reasonable personal use of computer equipment is allowed, as a general rule
17                all Enphase property, facilities and products, are expected to be used only for
                  legitimate business purposes.
18
                                                 *      *       *
19
                  14. Approvals or Waivers.
20
                  Any approval of conduct prohibited by this Code [of Conduct] or any waiver
21                of provisions of this Code [of Conduct] requires approval of the Compliance
                  Officer. With respect to Enphase’s executive officers or directors, any such
22                approval or waiver also requires authorization by the Audit Committee and
                  may also require public disclosure under SEC rules.
23

24          37.   The Enphase Board has also adopted Enphase’s Corporate Governance Guidelines

25 (“Governance Guidelines”) for the conduct and operation of the Board.

26          38.   In a section titled “Role Of The Board Of Directors,” the Governance Guidelines

27 state:
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                          The Board is selected by the stockholders to provide oversight of, and
 1                strategic guidance to, senior management. The core responsibility of a Board
                  member is to fulfill his or her fiduciary duties of care and loyalty and
 2                otherwise to exercise his or her business judgment in the best interests of the
                  Company and its stockholders. Service on the Board requires significant time
 3                and attention on the part of directors. More specifically, the Board has
                  responsibilities to review, approve and monitor fundamental financial and
 4                business strategies and major corporate actions, assess major risks facing the
                  Company and consider ways to address those risks, select and oversee
 5                management and determine its composition and oversee the establishment
                  and maintenance of processes and conditions to maintain the integrity of the
 6                Company. Directors must participate in Board meetings, review relevant
                  materials, serve on committees and prepare for meetings and discussions with
 7                management. Directors are expected to maintain an attitude of constructive
                  involvement and oversight; they are expected to ask relevant, incisive and
 8                probing questions and require honest and accurate answers. Directors must
                  act with integrity and are expected to demonstrate a commitment to the
 9                Company, its values and its business and to long-term stockholder value.
                  Directors are encouraged to attend the Company’s annual meeting of
10                stockholders, either in person or telephonically.
11         39.    In a section titled “Board Access To Management; Use Of Outside Directors,” the
12 Governance Guidelines state:

13                        Board members have complete and open access to the Company’s
                  management. It is assumed that Board members will use judgment to ensure
14                that this contact is not distracting to the operations of the Company or to the
                  managers’ duties and responsibilities and that such contact, to the extent
15                reasonably practical or appropriate, will be coordinated with the [CEO].
                  Written communications to management should, whenever appropriate, be
16                copied to the [CEO].
17                        The Board and each committee shall have the power to hire at the
                  expense of the Company, independent legal, financial or other advisors as
18                they may deem necessary, without consulting or obtaining the approval of any
                  officer of the Company in advance.
19
                             DIRECTOR DEFENDANTS ON THE
20                     AUDIT COMMITTEE OWE ADDITIONAL DUTIES
21         40.    The Governance Guidelines and the Audit Committee Charter (the “Audit Charter”)

22 place additional duties and responsibilities upon the members of the Board’s Audit Committee,

23 which consisted of Gomo, Kortlang, and Moro during the Relevant Period.

24         41.    In a section titled “Board Committees,” the Governance Guidelines state:

25         6.2 Committee Functions

26         Audit Committee. The Audit Committee oversees the Company’s corporate
           accounting and financial reporting process. For this purpose, the Audit Committee
27         performs several functions. The Audit Committee evaluates the performance of
                                                    10
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           and assesses the qualifications of the independent auditors; determines and
 1         approves the scope of the engagement and compensation of the independent
           auditors; determines whether to retain or terminate the existing independent
 2         auditors or to appoint and engage new independent auditors; reviews and approves
           the retention of the independent auditors to perform any proposed permissible non-
 3         audit services; monitors the rotation of partners of the independent auditors on the
           Company’s audit engagement team as required by law; confers with management
 4         and the independent auditors regarding the effectiveness of internal controls over
           financial reporting; establishes procedures, as required under applicable law, for
 5         the receipt, retention and treatment of complaints received by the Company
           regarding accounting, internal accounting controls or auditing matters and the
 6         confidential and anonymous submission by employees of concerns regarding
           questionable accounting or auditing matters; reviews the financial statements to be
 7         included in the Company’s Annual Report on Form 10-K; and discusses with
           management and the independent auditors the results of the annual audit and the
 8         results of the Company’s quarterly financial statements.
 9         42.    According to the Audit Charter, the purpose of the Audit Committee shall be to:
10                   i.   monitor and/or assist the Board in monitoring and overseeing (a) the
                          audit, compliance, accounting and financial reporting procedures of the
11                        Company, (b) the adequacy of the Company’s internal financial
                          controls, and (c) the overall integrity of the Company’s financial
12                        statements; and
13                  ii.   monitor and oversee (x) the selection and independence of the
                          Company’s independent registered public accounting firm
14                        (“independent auditors”) and (y) the management of risks associated
                          with the Company’s financial reporting, accounting and auditing
15                        matters.
16         43.    Pursuant to the Audit Charter, the overarching duties of the Audit Committee and its
17 members include the following:

18                ANNUAL FINANCIAL REPORTING
19                In connection with the audit of each fiscal year’s financial statements, the
                  Committee will:
20
           •      meet with representatives of the independent auditor prior to the audit to
21                review planning and staffing of the audit;
22         •      review and discuss the audited financial statements and related accounting
                  and auditing principles and practices with appropriate members of the
23                Company’s management;
24         •      review with management and the auditors, as appropriate, the Company’s
                  disclosures contained under the caption “Management’s Discussion and
25                Analysis of Financial Condition and Results of Operations” in its periodic
                  reports to be filed with the [SEC];
26
           •      discuss with the independent auditors the matters required to be discussed
27                by the [Public Company Accounting Oversight Board (“PCAOB”)]
                                                  11
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             Accounting Standards No. 1301, including (1) the quality as well as
 1           acceptability of the accounting principles applied in the financial
             statements, and (2) new or changed accounting policies; significant
 2           estimates, judgments, uncertainties[,] or unusual transactions; and
             accounting policies relating to significant financial statement items;
 3
       •     review with appropriate management and auditor representatives their
 4           analysis of significant matters which relate to (1) the selection, application
             and effects of critical accounting policies applied by the Company, (2)
 5           internal auditing, financial management and control personnel, systems and
             procedures, (3) the status of any new, proposed or alternative accounting or
 6           financial reporting requirements, and (4) issues raised by any management
             letter from the auditors, difficulties encountered in the audit, disagreements
 7           with management, or other significant aspects of the audit;
 8                                         *       *       *
 9     •     obtain from the independent auditors a statement of the audit fees and other
             categories of fees billed for the last fiscal year which are required to be
10           disclosed in the Company’s proxy statement for its annual meeting under
             the SEC’s proxy rules, and consider whether the provision of any non-audit
11           services is compatible with maintaining the auditors’ independence; [and]
12                                         *       *       *
13     •     recommend whether or not the audited financial statements should be
             included in the Company’s Annual Report on Form l0-K for filing with the
14           SEC.
15           QUARTERLY FINANCIAL REPORTING
16                   At a[n Audit] Committee meeting or through the [Audit] Committee
             chairperson, the [Audit] Committee will review with the independent auditors
17           and appropriate Company officers the Company’s interim financial results to
             be included in the Company’s earnings press releases and on each Form 10-
18           Q. The Committee’s review will normally include:
19     •     the results of the independent auditors’ review of the quarterly financial
             statements;
20
       •     management’s analysis of any significant accounting issues, changes,
21           estimates, judgments or extraordinary items relating to the financial
             statements; and
22
       •     the selection, application and effects of critical accounting policies applied
23           by the Company.
24                                         *       *       *
25           RISK ASSESSMENT AND MANAGEMENT
26                  The [Audit] Committee will review and discuss with management
             and, as appropriate, the auditors the Company’s major financial risk
27
                                    12
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             exposures and the steps taken by management to monitor and control these
 1           exposures.
 2           OTHER COMMITTEE REVIEW FUNCTIONS
 3                                          *       *       *
 4                  The [Audit] Committee may discuss and review with Company
             management, internal or outside legal counsel, or the independent auditors
 5           any other topics relating to the purpose of the [Audit] Committee which may
             come to the [Audit] Committee’s attention, including:
 6
       •     published reports, regulatory or accounting initiatives, or communications
 7           from employees, government agencies or others, which raise significant
             issues concerning Company financial statements or accounting policies;
 8
       •     off balance sheet, related party, or other transactions which could affect the
 9           Company’s financial results or condition; [and]
10     •     any issues concerning the Company which the independent auditors have
             discussed with their national or supervisory office[.]
11
                                           *       *       *
12
                     The Committee will review and oversee any programs to repurchase
13           the Company’s securities and to review the implementation by management
             of any such repurchase programs.
14
                                            *       *       *
15
             MEETINGS, REPORTS AND RESOURCES OF THE COMMITTEE
16
                                            *       *       *
17
                     The [Audit] Committee will prepare the audit committee report
18           required to be included in the Company’s annual meeting proxy statement
             and report to the Board on the other matters relating to the [Audit] Committee
19           or its purposes, as required by the SEC proxy rules.
20                   The [Audit] Committee shall make regular reports to the Board, which
             reports shall include any issues that arise with respect to the quality or
21           integrity of the Company’s financial statements, the Company’s compliance
             with legal or regulatory requirements, the performance and independence of
22           the Company’s independent auditor, and any other matters that the [Audit]
             Committee deems appropriate or is requested to be included by the Board.
23
                    The [Audit] Committee is at all times authorized to have direct,
24           independent access to the independent auditors and to the Company’s
             management and internal audit and financer personnel. The [Audit]
25           Committee is authorized to communicate in confidence with any of these
             individuals.
26

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 1                                    RELEVANT BACKGROUND

 2          44.    Enphase is a global energy technology company that designs, develops,

 3 manufactures, and sells home energy solutions. The Company’s product portfolio includes solar

 4 microinverters, battery energy storage systems, EV charging stations, and related software and

 5 accessories.

 6          45.    The Company’s innovative technologies product portfolio is integrated to form a

 7 comprehensive clean energy platform. Enphase’s product offerings encompass microinverters—

 8 convert direct current (DC) electricity from solar panels into alternating current (AC) electricity for
 9 use in homes and businesses—and related accessories, the I.Q. Gateway, I.Q. Batteries, the cloud-

10 based Enlighten monitoring service, and a suite of design, proposal, permitting, and lead generation

11 services.

12          46.    The Company’s diverse customer base includes solar distributors, large installers,
13 original equipment manufacturers, strategic partners, and homeowners.

14                     THE INDIVIDUAL DEFENDANTS BREACH THEIR
                     DUTIES TO THE COMPANY AND ITS STOCKHOLDERS
15

16          47.    Through a series of communications, the Individual Defendants made materially false

17 and misleading statements and failed to disclose material adverse facts about the Company’s

18 business, operations, and prospects.       The market was, therefore, led astray by the material

19 misstatements and omissions of the Individual Defendants, which artificially inflated the price of

20 Enphase’s common stock by creating an unrealistically positive assessment of the Company’s

21 operations, earnings, potential for future growth, and adherence to applicable laws and regulations.

22 Specifically, the Individual Defendants failed to disclose to investors that the Company was

23 experiencing, inter alia, (i) slower battery shipment and adoption, including decreased battery

24 shipments to Europe and California; (ii) harmful impact due to the rising interest rates on the

25 Company’s microinverter deployments to Arizona and Florida; (iii) an extended transition period

26 with NEM 3.0; and (iv) slower inverter output from newly created U.S.-based manufacturing lines.

27
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 1 As a result, the Individual Defendants’ positive statements about the Company’s business,

 2 operations, and prospects were materially false, misleading, and lacked a reasonable basis.

 3           48.    On December 12, 2022, the Company issued a press release (the “December 2022

 4 Press Release”) 1 announcing that there had been an increase in demand for Enphase’s products in

 5 Florida and that it was expanding its business in Florida. However, the Company failed to disclose

 6 that specifically in Florida, Enphase was being affected by higher interest rates. The December 2022

 7 Press Release stated in pertinent part:

 8                  FREMONT, Calif., Dec. 12, 2022 (GLOBE NEWSWIRE) – Enphase Energy,
                    Inc. (NASDAQ: ENPH), a global energy technology company and the
 9                  world’s leading supplier of microinverter-based solar and battery systems,
                    announced today that installers of Enphase® products in Florida have seen
10                  growing deployments of Enphase Energy Systems™ powered by IQ8™
                    Microinverters.
11
                    Residential solar deployments in Florida have grown substantially over the
12                  last several years and are expected to reach more than 500 MW by the end
                    of 2022, according to the most recent U.S. Solar Market Insight report from
13                  Wood Mackenzie and the Solar Energy Industries Association.
                    Additionally, deployments of residential battery capacity in Florida are
14                  expected to grow more than four-fold by the end of 2026, according to the
                    most recent U.S. Energy Storage Monitor report from the Energy Storage
15                  Association and Wood Mackenzie.
16                  “Enphase’s IQ8 Microinverters are unlocking more energy independence for
                    our customers than ever before,” said Matt Selby, president at Unicity Solar.
17                  “We’re excited to grow our business by offering Enphase’s industry-leading
                    products and services to homeowners across Florida.”
18

19           49.    On January 5, 2023, the Company issued a press release (the “January 2023 Press

20 Release”) announcing that there had been an increase in demand for Enphase’s products in Arizona

21 and the opportunity for continued growth in that market. However, the Company failed to disclose

22 that Enphase was being affected by higher interest rates in the Arizona market, as well. The January

23 2023 Press Release stated, in relevant part:

24                  FREMONT, Calif., Jan. 05, 2023 (GLOBE NEWSWIRE) – Enphase Energy,
                    Inc. (NASDAQ: ENPH), a global energy technology company and the
25                  world’s leading supplier of microinverter-based solar and battery systems,
                    announced today that installers of Enphase® products in Arizona have seen
26

27   1
         Emphasis in all press releases is added unless otherwise indicated.
                                                        15
28
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                      growing deployments of Enphase Energy Systems™ powered by IQ8™
 1                    Microinverters.
 2                    According to the U.S. Solar Market Insight report from Wood Mackenzie
                      and the Solar Energy Industries Association, residential solar deployments
 3                    in Arizona have been growing year-over-year and are forecasted to reach
                      206 MW in 2023, representing a 20 percent increase over the previous year.
 4                    Additionally, residential battery deployments in Arizona are expected to
                      nearly quadruple by the end of 2026, according to the most recent U.S.
 5                    Energy Storage Monitor report from the Energy Storage Association and
                      Wood Mackenzie.
 6
                      “Arizona homeowners and businesses are increasingly turning to solar
 7                    power to keep their electricity bills under control as power prices continue
                      to rise,” said Chad Waits, owner at Net Zero Solar, an Enphase Platinum level
 8                    installer. “With a shared passion for clean energy, quality, value, and
                      customer service, we’re proud to partner with Enphase to offer the IQ8-
 9                    powered Enphase Energy System to our customers.”
10                    “We believe that our customers are the center of our universe and that is why
                      we are proud to provide them with access to the industry-leading IQ8
11                    microinverters from Enphase,” said Caleb Antonucci, [CEO] at Our World
                      Energy, an Enphase Gold level installer. “This cutting[-]edge technology
12                    helps Arizona homeowners gain access to clean energy, so they can feel good
                      about doing their part to make the world a better, greener place. We are
13                    committed to helping Arizona homeowners harness the power of clean energy
                      and make the most of their unique needs.”
14

15          50.       On February 7, 2023, the Company issued the February 2023 Press Release
16 announcing its fourth quarter and full year 2022 financial results. Therein, Enphase touted its

17 financial highlights for the fourth quarter of 2022, microinverter and battery shipments, and the

18 continued demand for its products. In the February 2023 Press Release, the Company also provided

19 financial guidance for its first quarter 2023. In relevant part, the February 2023 Press Release stated:

20                    We reported record quarterly revenue of $724.7 million in the fourth quarter
                      of 2022, along with 43.8% for non-GAAP gross margin. We shipped
21                    4,873,702 microinverters, or approximately 1,952.4 megawatts DC, and
                      122.1 megawatt hours of Enphase® IQ™ Batteries.
22
                      Financial highlights for the fourth quarter of 2022 are listed below:
23
                  •    Record quarterly revenue of $724.7 million
24
                  •    GAAP gross margin of 42.9%; non-GAAP gross margin of 43.8%
25
                  •    GAAP operating income of $157.0 million; non-GAAP operating income of
26                     $229.4 million
27
                                             16
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           •    GAAP net income of $153.8 million; non-GAAP net income of
 1              $212.4 million
 2         •    GAAP diluted earnings per share of $1.06; non-GAAP diluted earnings per
                share of $1.51
 3
           •    Free cash flow of $237.3 million; ending cash, cash equivalents, and
 4              marketable securities of $1.61 billion
 5                                           *      *       *
 6             IQ8 Microinverters constituted approximately 55% of all our microinverter
               shipments during the fourth quarter of 2022. We introduced IQ8
 7             Microinverters in France and the Netherlands in the fourth quarter of 2022,
               marking the first expansion into international markets for the product since
 8             its successful launch in North America in late 2021.
 9             Our IQ Battery shipments were 122.1 megawatt hours in the fourth quarter of
               2022, compared to 133.6 megawatt hours in the third quarter of 2022. We
10             made significant software upgrades to continue improving the installer and
               homeowner experience and brought commissioning times down. We shipped
11             IQ Batteries to North America, Germany, and Belgium during the fourth
               quarter of 2022. We now have approximately 2,300 installers worldwide that
12             are certified to install our IQ Batteries.
13             We are adding additional manufacturing capacity in the United States due to
               the strong global demand for our products as well as the incentives related to
14             the Inflation Reduction Act (IRA). We plan to begin domestic manufacturing
               in the second quarter of 2023 with a new contract manufacturing partner and
15             in the second half of 2023 with our two existing contract manufacturing
               partners.
16
               We began manufacturing Enphase-branded electric vehicle (EV) chargers at
17             our contract manufacturing facility in Mexico, helping us to increase capacity
               and reduce costs. We expect to introduce IQ smart EV chargers to customers
18             in the United States in the first half of 2023. They will provide connectivity
               and control, enabling use cases like green charging and allowing homeowners
19             visibility into the operation of their Enphase solar-plus-storage-plus-EV
               system through the Enphase® App.
20
               We continued to make progress on our installer platform. We made updates
21             to Solargraf℠ software during the fourth quarter of 2022, incorporating
               battery design and proposal, document management, consumption modeling,
22             and several other improvements requested by our installer partners. In
               addition, we made significant strides in automating the creation of permit plan
23             sets with Solargraf software. We now have more than 1,000 installers using
               the software.
24
                                             *      *       *
25
               FIRST QUARTER 2023 FINANCIAL OUTLOOK
26
               For the first quarter of 2023, [the Company] estimates both GAAP and non-
27             GAAP financial results as follows:
                                                  17
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                  •    Revenue to be within a range of $700 million to $740 million, which includes
 1                     shipments of 100 to 120 megawatt hours of Enphase IQ Batteries;
 2                •    GAAP gross margin to be within a range of 40.0% to 43.0%; non-GAAP
                       gross margin to be within a range of 41.0% to 44.0%, excluding stock-based
 3                     compensation expense and acquisition related amortization[.]
 4          51.       During the related earnings call (the “February 2023 Earnings Call”), the Individual

 5 Defendants continued to tout Enphase’s ramp up in higher-margin IQ8 microinverters, the launch of

 6 its gen-3 battery technology, increased expansion into new markets, and the start-up of U.S.

 7 manufacturing lines—and brushing aside the possible negative impacts of interest rates on the

 8 Company overall. Defendants Kothandaraman and Yang commented on Enphase’s achievement of
 9 delivering record quarterly revenue for its first quarter 2023. Specifically, Kothandaraman stated

10 during the call as follows:

11                    Let’s talk about microinverter manufacturing.         Our overall supply
                      environment remains quite stable in general. There are issues that crop up
12                    from time-to-time. Our teams are staying on top of them. Our quarterly
                      capacity was 5 million microinverters exiting Q4. We are on track to begin
13                    manufacturing at Flex Romania starting this quarter, enabling us to service
                      Europe better. This will enable a total quarterly capacity of 6 million
14                    microinverters exiting Q1. We are going to increase this capacity even more
                      with U.S. manufacturing.
15
                      Let’s cover that now. As we discussed last quarter, we are pleased that the
16                    IRA will help bring back high-tech manufacturing to the U.S. and stimulate
                      the economy through the creation of jobs. We are excited to service the U.S.
17                    customers better with local manufacturing. We plan to begin U.S.
                      manufacturing of our microinverters in the second quarter of 2023 with a new
18                    contract manufacturing partner and in the second half of 2023 with our 2
                      existing contract manufacturing partners. We plan to open 6 manufacturing
19                    lines by the end of this year adding a quarterly capacity of 4.5 million
                      microinverters, bringing our total quarterly capacity to more than 10 million
20                    microinverters as we exit 2023.
21                                                  *      *       *
22                    Let’s cover the regions. Our U.S. and international revenue mix for Q4 was
                      71% and 29%, respectively. In the U.S., our revenue increased 15%
23                    sequentially and 59% year-on-year. We had record quarterly revenue, record
                      quarterly sell-through for our microinverters and record quarterly installer
24                    count in the fourth quarter. Our microinverter channel inventory was quite
                      healthy at the end of the fourth quarter, while our storage channel inventory
25                    was a little elevated.
26                                                  *      *       *
27
                                            18
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                   We have a strong team in place and are quite bullish about 2023. We expect
 1                 to introduce IQ batteries and IQ8 microinverters into many more countries in
                   Europe as we progress through the year. Our value proposition is our
 2                 differentiated home energy management systems, combined with high quality
                   and great customer experience.
 3
                                                  *       *       *
 4
                   There are a couple of interesting observations I thought I will share with you.
 5                 Even with the pronounced seasonality and sell-through in January, we would
                   like to point out that our activations are holding up. The second point to also
 6                 note is that in conversations with our installers and distributor partners, they
                   have started to see originations pickup in January when compared to
 7                 December. Although the data we have is limited, these two points make us
                   cautiously optimistic about Q2. We have also seen some analyst reports about
 8                 a possible shift from loans to [power purchase agreements (“PPA”)] due to
                   the high prevailing interest rates. We work with thousands of installers every
 9                 quarter. Our installer base is very diverse, both small and large installers that
                   offer cash, loans and PPA options to homeowners. Any shift from one type
10                 of financing to another only has a minor impact to our business, almost
                   negligible. No matter what the conditions are, our approach at Enphase does
11                 not change.
12          52.    Defendant Yang also commented on the Company’s fourth quarter 2022 and
13 guidance for its first quarter 2023:

14                 Total revenue for Q4 was $724.7 million, representing an increase of 14%
                   sequentially and a quarterly record. We ship approximately 1,952.4
15                 megawatts DC of microinverters and 122.1 megawatt hours of IQ batteries in
                   the quarter. Non-debt gross margin for Q4 was 43.8% compared to 42.9% in
16                 Q3. The increase was driven by a favorable IQ8 product mix. GAAP gross
                   margin was 42.9% for Q4.            Non-GAAP operating expenses were
17                 $87.7 million for Q4 compared to $78.6 million for Q3. The increase was
                   driven by international growth, customer service and R&D.
18
                   GAAP operating expenses were $153.7 million for Q4 compared to
19                 $132.5 million for Q3. GAAP operating expenses for Q4 included
                   $59.4 million of stock-based compensation expenses and $4.9 million of
20                 acquisition-related expenses and amortization for acquired intangible assets
                   and $1.8 million of restructuring and asset impairment charges.
21
                                                  *       *       *
22
                   In Q4, we generated $253.7 million in cash flow from operations and
23                 $237.3 million in free cash flow. Capital expenditure was $16.4 million for
                   Q4 compared to $8.9 million for Q3. The increase was primarily due to
24                 investment in additional content manufacturing sites and R&D equipment.
                   Capital expenditure for the full year of 2022 was $46.4 million.
25
                   Now let’s discuss our outlook for the first quarter of 2023. We spent our
26                 revenue for the first quarter of 2023 to be within a range of $700 million to
                   $740 million, which includes shipments of 100[-] to 120-megawatt hours of
27                 IQ batteries. We expect GAAP gross margin to be within the range of 40%
                                                     19
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                   to 43% and non-GAPP gross margin to be within the range of 41% to 44%,
 1                 which excludes stock[-] based compensation expenses and acquisition-related
                   amortization. We assume a conservative euro FX rate in our Q1 guidance,
 2                 and we don’t expect significant impact to our financials from fluctuations in
                   FX rates. We set up our debt operating expenses to be within a range of
 3                 $177 million to $181 million, including approximately $77 million estimated
                   for stock-based compensation expenses, restructuring charges for site
 4                 consolidation, acquisition-related expenses[,] and amortization. We expect
                   our non-GAAP operating expenses to be within a range of $100 million to
 5                 $104 million.
 6          53.    Defendant Kothandaraman also positively described the Company’s opportunities for

 7 its fiscal year 2023 as follows:

 8                 We manage for the long term. The basic thesis ongoing solar and storage
                   remains intact, aided by a few factors: first, the utility rates, which are rising
 9                 in many states across the U.S.; second, the 30% ITC tax credit, which has
                   been extended for 10 years with the IRA; and third, the desire for energy
10                 independence and tackling climate change. At Enphase, we will continue to
                   make best-in-class home energy systems with a laser focus on product
11                 innovation, quality and customer experience.
12                 Let’s switch to talking about battery. We shipped 122-megawatt hours of IQ
                   batteries in Q4. We have now certified approximately 2,300 installers
13                 worldwide since the introduction of IQ batteries into North America,
                   Germany and Belgium. Our installers in North America experienced a
14                 median commissioning time of 91 minutes exiting Q4 compared to 118 in Q3.
                   We made significant software changes to improve communication, grid
15                 transitions and commissioning time, and I’m quite happy with the
                   performance of the team.
16
                   As a result, we saw slightly higher sell-through of our batteries in Q4 versus
17                 Q3. We’ve also got a number of feedbacks from the installers about the fact
                   of improved performance in terms of commissioning. We plan to ship 100[-
18                 ] to 120- megawatt hours of IQ batteries in Q1. We also expect to start
                   ramping our third[-]generation IQ battery in North America and Australia in
19                 the second quarter. This battery has got 5-kilowatt hour modularity, 2x the
                   power compared to our existing battery and 30-minute commissioning time
20                 in addition to being easier to install and service. We expect the higher charge
                   discharge rate as well as the 5-kilowatt hour modularity to be uniquely
21                 beneficial to the homeowners under the upcoming NEM 3.0 tariff in
                   California. With the significant changes we are making to our IQ batteries,
22                 we are confident that storage installations will become as efficient as
                   microinverters. And as a result, the profitability for installers should get
23                 better. We expect our battery business to perform well in the second half of
                   the year, both due to our third[-]generation battery as well as NEM 3 adoption
24                 in California.
25                                            *       *       *
26                 In summary, we are quite pleased with our performance. As a reminder, our
                   strategy is to build best-in-class home energy systems and deliver them to
27                 homeowners through our installer and distributor partners, enabled by the
                                                      20
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                  installer platform. We have many new products that are coming out in 2023
 1                that will increase our served available market and positively contribute to the
                  top line.
 2
                  We look forward to introducing IQ8 microinverters worldwide, introducing
 3                IQ batteries into more countries in Europe, launching our third-generation
                  battery in North America and Australia as well as introducing our highest
 4                power 480-watt IQ8P microinverter for both the U.S. small commercial and
                  emerging residential markets. We’re also excited about the upcoming
 5                Solargraf functionality, especially the NEM 3.0 functionality and finally, the
                  work we are doing to bring both smart EV chargers as well as bidirectional
 6                EV charging capabilities to the market.
 7         54.    During the February 2023 Earnings Call the following exchange occurred between

 8 an analyst from JP Morgan Chase & Co (“JP Morgan”) and Kothandaraman concerning the
 9 Company’s outlook for 2023 in its European market:

10                [Analyst:] So a lot of focus on the U.S. markets, but I just wanted to go back
                  to your comments about Europe. So, that’s obviously been very strong in the
11                last couple of years, kind of doubling each year. I know you don’t guide
                  annually, but just kind of how should we think about that market in 2023? Do
12                you think kind of an approximate doubling is kind of the base case that we
                  should be expecting from here?
13
                  [Kothandaraman:] Well, as you said, we do not drive something annually,
14                but European market is growing. At least our internal reports talk about
                  served available solar market of about 13 gigawatts, 1-3, in 2023. The
15                markets to really – the markets that are really driving are Netherlands,
                  Germany, Spain, France, Italy, and even actually Austria, Poland, et cetera.
16                They’re all becoming quite significant markets. In addition, attach – battery
                  attach is also growing. Like what I stated in the prior question – answering
17                the prior question, the attach rate on batteries in Germany is 80%. So, solar
                  plus storage is growing healthily. And the geopolitical situation accelerated
18                it last year, and that’s continuing what do – what’s our position is. We have
                  a very differentiated product. We have microinverters on the roof, which are
19                very high quality, easy to install. We have a huge customer service operation
                  there in France and in Germany, and we take care of customers well.
20
                                            *       *      *
21
                  So to answer your question, the market is growing. The market is growing
22                really significantly. That’s what I told you 13 gigawatts, we are well
                  positioned due to our differentiating value proposition, and we recently
23                bought a company, GreenCom Networks that is even going to make that
                  situation better where we provide a complete home energy management
24                system to our installers.
25

26

27
                                         21
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 1         55.    During the same call, the following exchange occurred between an analyst from

 2 Wolfe Research, LLC and Kothandaraman regarding the Company’s assurance that demand will be

 3 able to meet the “doubling of production”:

 4                [Analyst:] Just you are growing your production capacity, you are doubling
                  it from $5 million a quarter to $10 million. You said, I think, by year end of
 5                2023, just could you give us a sense of your conviction that the demand will
                  be there to meet that doubling of production.
 6
                  [Kothandaraman:] Yes. Look, if you look at our past growth rates, you can
 7                see it, we grew from – we grew, I think, ‘21 to ‘22, we grew 59%. And at
                  that time, I think end of ‘21, we were doing, if I remember right, around 3-
 8                ish million units a quarter. End of ‘22, we are now – we just reported 5-ish
                  million units a quarter. So you can see that that’s the nice growth. So – our
 9                long-term thesis on solar is – we are extremely bullish. We – especially with
                  countries like Europe and with a strong position in the U.S. with our rapid
10                entry into other emerging markets. We think it is the right call to basically
                  invest in the right manufacturing, especially given the IRA benefits. So even
11                if we don’t use all 10 million units per quarter, we will use it sooner or later.
                  And I think the ROI is well worth [it] especially considering the net benefit
12                to us. So our logic was quite simple. We weren’t worried. We did a few
                  back-of-the-envelope calculations. We thought it is the right thing for us to
13                invest in these lines and fortunately, we have very strong and great contract
                  manufacturing partners who need to do a lot of the heavy lifting, all our capital
14                that we set out is quite limited. They do a lot of the heavy lifting, like what
                  they are doing today, and two of them are existing contract manufacturers.
15                So, we have deep relationships. And we are going to work with them in the
                  long-term. So, we thought that’s the right decision for us to do, and we
16                basically accelerated that effort. And once we make a decision, it takes us a
                  few quarters. In the past, it has taken us four quarters to six quarters to ramp
17                up the likes. So our thesis is quite bullish on solar, and we think that’s the
                  right call.
18

19         56.    During the February 2023 Earnings Call, Kothandaraman was asked about the effects

20 of NEM 3.0 system on Enphase’s products. Specifically, the following exchange occurred between

21 an analyst from Goldman Sachs and Kothandaraman:

22                [Analyst:] First question I had was just around NEM 3.0. I think there’s
                  different implications of that policy uncertainty near term and medium term
23                from what we’re hearing. So maybe just wanted to get your thoughts near
                  term, some views out there that maybe there’s a pull forward on demand in
24                California [ – ] would be curious what you’re seeing with respect to that? And
                  then kind of in the medium term, we’re hearing the industry is still maybe
25                trying to figure out how to navigate this. So curious how you specifically are
                  thinking about the second half of 2023 in the U.S.? Are you kind of base case
26                in California to be down significantly? And then how do you see yourself
                  navigating that, if that’s the case? Are you driving more product to other
27                states, focusing more in Europe? Just curious just how you’d be thinking
                                                     22
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                   about planning into that period of higher policy uncertainty in the back half?
 1                 [. . . ]
 2                 [Kothandaraman:] Yes. On NEM 3, we aren’t really seeing any pull
                   forward right now. But in talks with few installers in California, both big and
 3                 small, like what I said, the originations are up strongly. They are all quite
                   optimistic. And maybe we will see something soon that’s why I talked about
 4                 an optimistic Q2. But so far, we haven’t seen any pull forward demand yet.
                   Now on talking about NEM 3.0 in general. NEM 3.0 is going to be incredibly
 5                 positive for us. Because NEM 3.0, I mean, just so everybody gets it, I’ll talk
                   about NEM 3.0, the features of NEM 3.0. Basically, the – previously, the
 6                 import and export rates were the same. So therefore, when you exported
                   electrons with the solar system didn’t really matter. As long as you exported,
 7                 it got directly subtracted from what your input. That’s why it’s called net
                   metering, and that was net metering 2.0. With NEM 3.0, it matters when you
 8                 export these electrons. So you have 24 hours a day, 365 days a year. So
                   basically, 8,760 data points, and there is an export rate for each of those data
 9                 points. Each of those hours, there is an export rate. And – but what it works
                   out to be is if you are interested in a pure solar system, your payback dropped
10                 understandably from, let’s say, 5 years, it increases actually to something like
                   7 or 7.5 years with the pure solar system.
11
                                                  *       *       *
12
                   I’m not sure whether California will go in that direction. Time will tell
13                 because, we do have some color. We do have resilience issues as well. But
                   I’m sure markets will evolve a little in that direction, too. So bottom line, we
14                 are incredibly optimistic. We got the right batteries for it with the third-
                   generation battery. We got the modularity, which I think will start becoming
15                 popular. Grid-tied may become popular, but we’ll be ready to do either grid
                   tied or off grid, on grid with backup. The things that are looking, we like
16                 NEM 3.0. Of course, we didn’t like the fact the step down happened right
                   away. But I think in the long term, it’s an okay decision.
17

18          57.    The above statements identified in the December 2022 Press Release, the

19 January 2023 Press Release, the February 2023 Press Release, and the February 2023 Earnings Call

20 were materially false and misleading and failed to disclose material adverse facts about the

21 Company’s business, operations, and prospects. Specifically, the Individual Defendants failed to

22 disclose to investors that the Company was experiencing, inter alia, (i) slower battery shipment and

23 adoption, including decreased battery shipments to Europe and California; (ii) harmful impact due

24 to the rising interest rates on the Company’s microinverter deployments to Arizona and Florida; (iii)

25 an extended transition period with NEM 3.0; and (iv) slower inverter output from newly created

26 U.S.-based manufacturing lines. As a result, the Individual Defendants’ positive statements about

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 1 the Company’s business, operations, and prospects were materially false, misleading, and lacked a

 2 reasonable basis.

 3        THE COMPANY ISSUES A FALSE AND MISLEADING PROXY STATEMENT

 4          58.     On April 6, 2023, Enphase filed a Schedule 14A with the SEC (the “2023 Proxy

 5 Statement”). The Director Defendants solicited the 2023 Proxy Statement, which was filed pursuant

 6 to Section 14(a) of the Exchange Act. The 2023 Proxy Statement contained material misstatements

 7 and omissions.

 8          59.     The 2023 Proxy Statement asked Enphase stockholders to vote to, among other
 9 things: (1) reelect Haenggi, Kortlang, and Mora to the Board for a three year term ending as of the

10 Company’s annual meeting of stockholders in fiscal year 2026; (2) approve, on advisory basis, the

11 compensation of the Company’s named executive officers, including Kothandaraman and Yang,

12 commonly referred to as “say-on-pay”; and (3) ratify the selection of Deloitte & Touche LLP as

13 Enphase’s independent registered public accounting firm for the year ending December 31, 2023.

14          60.     The 2023 Proxy Statement stated that as a nominee defendant Haenggi was qualified
15 based on her “extensive experience in consumer and commercial sales, marketing and customer

16 experience” and that Kortlang was qualified based on his “work as a venture capitalist with a with a

17 focus on growth-stage investing in alternative energy technologies” and his investing and business

18 experience[.]” Mora was qualified based on his “expertise in process and productivity improvements

19 at the corporate, regional and country level” and his years of experience with respect to emerging

20 companies, risk management, team building and international operations.”

21          61.     The 2023 Proxy Statement included the following, in relevant part, regarding the

22 “Role of the Board in Risk Oversight”:

23          One of the Board’s key functions is informed oversight of our risk management
            process. The Board does not have a standing risk management committee, but
24          rather administers this oversight function directly through the Board as a whole, as
            well as through various Board standing committees that address risks inherent in
25          their respective areas of oversight. In particular, the Board is responsible for
            monitoring and assessing strategic risk exposure, including a determination of the
26          nature and level of risk appropriate for Enphase. The Audit Committee has the
            responsibility to consider and discuss our major financial and accounting risk
27          exposures and the steps our management has taken to monitor and control these
                                                      24
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            exposures, including guidelines and policies to govern the process by which risk
 1          assessment and management is undertaken. The Audit Committee also monitors
            compliance with legal and regulatory requirements, in addition to oversight of the
 2          performance of our internal audit function.
 3                                              *       *       *
 4          The Compensation Committee assesses and monitors whether any of our
            compensation policies and programs has the potential to encourage excessive risk-
 5          taking. Each of our committees provides reports to the full Board on their oversight
            activities and elevates review of risk issues to the Board as appropriate. In addition,
 6          the Board meets with certain members of our executive team, including the heads
            of our different organizational functions, who discuss the risks and exposures
 7          involved in their respective areas of responsibility as well as any developments that
            could impact our risk profile or other aspects of our business. These reports from
 8          our executive team are designed to provide timely visibility to the Board and its
            committees about the identification and assessment of key risks, our risk mitigation
 9          strategies and ongoing developments.
10          62.       With further respect to the Board’s risk oversight responsibilities the 2023 Proxy
11 Statement stated, in relevant part:

12                    [T]he Audit Committee, among other things:
13                •    evaluates the performance of and assesses the qualifications of the
                       independent auditors;
14
                  •    determines and approves the scope of engagement and compensation of the
15                     independent auditors;
16                •    confers with management and the independent auditors regarding the
                       effectiveness of internal controls over financial reporting; and
17
                  •    establishes procedures, as required by law, for the receipt, retention[,] and
18                     treatment of complaints regarding accounting, internal accounting
                       controls[,] or audit matters.
19
                      The Audit Committee also has the following responsibilities:
20
                  •    determining whether to retain or terminate the existing independent auditors
21                     or to appoint and engage new independent auditors;
22                •    reviewing and approving the retention of the independent auditors to perform
                       any proposed permissible non-audit services;
23
                  •    reviewing and approving or rejecting related-party transactions;
24
                  •    oversight of our enterprise risk management program; and
25
                  •    reviewing and discussing with management and the independent registered
26                     public accounting firm our annual audited and quarterly financial statements,
                       the results of the independent audit and the quarterly reviews, and the reports
27
                                             25
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                     and certifications regarding internal control over financial reporting and
 1                   disclosure controls.
 2          63.    The 2023 Proxy Statement also referred to the Corporate Governance Guidelines,

 3 stating, in relevant part, that the guidelines “ensure that the Board will have the necessary authority

 4 and practices in place to review and evaluate our business operations as needed and to make

 5 decisions that are independent of our management” and “are also intended to align the interests of

 6 directors and management with those of our stockholders.”

 7          64.    The Code of Conduct was also mentioned in the 2023 Proxy Statement, noting its

 8 availability on the Company’s website and that it “applies to all officers, directors and employees.”
 9          65.    The 2023 Proxy Statement was materially false and misleading in that it
10 recommended the reelection of members of the Board without disclosing to investors their

11 participation in the wrongdoing alleged herein. In addition, the 2023 Proxy Statement was materially

12 misleading because it failed to disclose that: (i) contrary to the 2023 Proxy Statement’s descriptions

13 of the Code of Conduct, the Corporate Governance Guidelines, and the Board’s risk oversight

14 responsibilities, the Board and its committees did not adequately exercise these functions and were

15 causing or permitting Enphase to issue false and misleading statements; (ii) the Individual

16 Defendants allowed defendant Mora to sell stock at artificially inflated prices while in possession of

17 material non-public information; and (iii) the Individual Defendants used “pay-for-performance”

18 rewards when calculating executive compensation despite artificially inflating the Company’s value

19 by issuing false and misleading statements.

20          66.    The 2023 Proxy was further materially misleading because it failed to disclose that

21 the Company was experiencing, inter alia, (i) slower battery shipment and adoption, including

22 decreased battery shipments to Europe and California; (ii) harmful impact due to the rising interest

23 rates on the Company’s microinverter deployments to Arizona and Florida; (iii) an extended

24 transition period with NEM 3.0; and (iv) slower inverter output from newly created U.S.-based

25 manufacturing lines.      As a result, the Individual Defendants’ positive statements about the

26 Company’s business, operations, and prospects were materially false, misleading, and lacked a

27 reasonable basis.
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 1         MORA SELLS COMPANY STOCK AT ARTIFICIALLY INFLATED PRICES

 2          67.       During the period of wrongdoing described above, Enphase insider defendant Mora

 3 sold Company stock at artificially inflated prices while in possession of material non-public

 4 Company information.

 5          68.       On March 3, 2023, defendant Mora sold 4,500 shares of Company stock at a price of

 6 approximately $214.62 per share for proceeds of $965,774.70 while it was trading at artificially

 7 inflated prices due to the false and misleading statements alleged herein and while he was in

 8 possession of material non-public Company information.
 9          69.       While many of the Company’s stockholders lost significant money with the shares
10 dropping substantially, Mora sold his shares at artificially high prices and avoided the staggering

11 losses suffered by stockholders.

12          70.       As a result, defendant Mora benefitted from the artificial inflation of the price of the
13 Company’s stock and the resulting increase in the value of Enphase stock and stock options they

14 held.

15                                       THE TRUTH IS REVEALED
16          71.       On April 25, 2023, the Company issued the April 2023 Press Release announcing its

17 first quarter 2023 financial results and a weak revenue guidance for its second quarter 2023. The

18 April 2023 Press Release stated, in relevant part:

19                    Total revenue for the first quarter of 2023 was $726.0 million, compared to
                      $724.7 million in the fourth quarter of 2022. Our revenue in the United States
20                    for the first quarter of 2023 decreased approximately 9% due to seasonality
                      and macroeconomic conditions, while our revenue in Europe increased
21                    approximately 25%, compared to the fourth quarter of 2022. Our non-GAAP
                      gross margin was 45.7% in the first quarter of 2023, compared to 43.8% in
22                    the fourth quarter of 2022, driven by increased IQ8™ product mix and
                      improved logistics.
23
                                                     *       *       *
24
                      For the second quarter of 2023, Enphase Energy estimates both GAAP and
25                    non- GAAP financial results as follows, excluding any benefit from the IRA:
26                •    Revenue to be within a range of $700.0 million to $750.0 million, which
                       includes shipments of 80 to 100 megawatt hours of Enphase IQ Batteries
27
                                             27
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                  •    GAAP gross margin to be within a range of 41.0% to 44.0%
 1
                  •    Non-GAAP gross margin to be within a range of 42.0% to 45.0%, excluding
 2                     stock-based compensation expense and acquisition related amortization
 3                •    GAAP operating expenses to be within a range of $155.0 million to
                       $159.0 million
 4
                  •    Non-GAAP operating expenses to be within a range of $98.0 million to
 5                     $102.0 million, excluding $57.0 million estimated for stock-based
                       compensation expense, acquisition related expenses and amortization, and
 6                     restructuring charges for site consolidation
 7                •    GAAP and non-GAAP annualized effective tax rate is expected to be within
                       a range of 21.0% to 23.0%.
 8
 9          72.       During the related earnings call, the Individual Defendants revealed the problems
10 with Enphase’s business and operations that had plagued it since the beginning of the Relevant

11 Period. Specifically, during the call, defendant Kothandaraman stated, in relevant part:

12                    We had a decent quarter. We reported revenue of $726 million, shipped
                      approximately 4.8 million microinverters and 102-megawatt hours of
13                    batteries and generated free cash flow of $223.8 million. Approximately 65%
                      of our Q1 microinverter shipments were IQ8. We exited Q1 at 46% gross
14                    margin, 14% operating expense[,] and 32% operating income, all as a
                      percentage of revenue on a non-GAAP basis.
15
                                                    *       *      *
16
                      In the U.S., our revenue decreased 9% sequentially due to seasonality and
17                    macroeconomic conditions and increased 28% year-on-year. The sell through
                      of our microinverters in Q1 decreased 21% sequentially compared to Q4,
18                    worse than the typical seasonality of 15%. Our microinverter channel
                      inventory at the end of Q1 was relatively normal, while the storage channel
19                    inventory was a little elevated.
20                                                  *       *      *
21                    As I said earlier on this call, our sell-through of microinverters in the U.S.
                      was 21% lesser in Q1 compared to Q4. Our sell-through in California was
22                    only 9% lesser than Q4. There was some impact due to the weather in early
                      Q1, but the NEM 2.0 rush in Q1 more than compensated for it.
23
                      California installers took advantage of the NEM 2.0 rush and have built up a
24                    solar backlog for the next three to four months. We believe the [installers]
                      aren’t expanding their crews to accelerate installation, they’re laser focused
25                    on their cash flow due to the high interest rate environment and are looking
                      clarity – for – yes, clarity on the NEM 3.0 demand.
26
                      Sell-through of our batteries in California was 23% lesser in Q1 compared to
27                    Q4 as installers focused mainly on solar. We expect this trend to continue for
                                                        28
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                   the next three to four months. After that, we see NEM 3.0 as a net positive
 1                 for California and expect strong demand to resume for solar plus storage.
 2                                                *       *       *
 3                 The sell-through of microinverters in non-California states was 25% lesser in
                   Q1 compared to Q4. We observed that the sell-through was even lower in
 4                 states with low utility rates, such as Texas, Florida[,] and Arizona.
 5                 In these states, the economics of loan financing has worsened due to rising
                   interest rates. The sell-through performance in the Northeast U.S. was a little
 6                 better. Coming to IQ batteries, the sell-through in non-California states was
                   28% lesser in Q1 compared to Q4.
 7

 8          73.    During the same call, an analyst from JP Morgan commented on Enphase’s
 9 operational expenses (“OpEx”) guidance for its second quarter 2022 which “is kind of flattish

10 quarter-over-quarter.” The analyst inquired “to the extent that the macro continues to deteriorate”

11 and the “California transition might take longer than expected,” “[h]ow should [analysts] think about

12 OpEx going forward” and “balancing near-term profitability with a lot of the investments” that the

13 Enphase was “making in geographic and product expansion and everything else.” Defendant

14 Kothandaraman responded as follows:

15                 You should always think about OpEx at 15% of sales. That’s the general
                   model. All I said in Q2 that we’re not going to be compromising on
16                 innovation. We’re not going to be compromising our international growth.
                   We’re going to make generally the [C]ompany better in other areas. But our
17                 baseline is 15% of revenue, and we don’t plan on exceeding that.
18          74.    During the same call, the following exchange occurred between an analyst from

19 Barclays Bank PLC and defendant Kothandaraman regarding a slower than expected IQ8 rollout:

20                 [Analyst:] And then on the IQ8 rollout, that’s been slower than expected.
                   Could you just go into some more detail into what’s driving that? Is it on the
21                 supply side with any of the components? Or is it on the demand side as
                   customers sound like they’ve had to work through inventory over the last
22                 quarter or two? And I think on the last quarter call, you said you expected it
                   to jump to 80% in 2Q. So is that still the expectation? And then just with the
23                 gross margins, it’s very high this quarter and the IQ8 drove that. But your 2Q
                   guidance is lower and batteries are lower. So that’s going to be less of a drag.
24                 So is this just conservatism, or is there anything one-off that we should be
                   aware about in 1Q or 2Q?
25
                   [Kothandaraman:] There’s nothing one-off. You’re right, we are –
26                 originally, I thought 90% by Q2, last earnings call, I told you 90% by Q3.
                   That’s the number, 90% by Q3. 80% by Q2 will be okay. We are – for
27                 example, in Europe, 50% of our volumes are IQ8 right now. We’re
                                                  29
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                   introducing IQ8 to many more countries as we speak. Yesterday, we
 1                 introduced IQ8 to Spain and Portugal. Soon, we will introduce to Poland,
                   Germany, et cetera. We plan on doing the bulk of those introductions. In this
 2                 quarter, most of them, there will be some spillover in Q3 for a few, but we
                   very much want to achieve 90% in Q3. That’s our target.
 3

 4          75.    In addition, the following exchange occurred between an analyst from Hallum Capital

 5 Group and defendant Kothandaraman regarding scenarios that will get the Company to the high and

 6 low ends of its 2023 revenue guidance:

 7                 [Analyst:] One here at the end for me. So I know a lot of moving parts.
                   You’ve got a big revenue range on one hand, less seasonality on the other.
 8                 Channel inventory that you’ve detailed, I’m just curious if you’d be willing
                   to kind of go through a scenario that gets you to the high end of that revenue
 9                 range and a scenario that gets you to the low end of that range and maybe how
                   that breaks down between the U.S. and international?
10
                   [Kothandaraman:] Yes. I mean we are pretty conservative when it comes
11                 to our guidance. You should see our track record in general. And we do have
                   – like what I said, we do have a lot of dry powder in terms of new products.
12                 This year is the year of new products, and we are going to be releasing new
                   products constantly. And so, we think other than the base business, which we
13                 guided on in Q2, there is a lot more to come there.
14                 So our guidance is a little bit wider this time, plus/minus $25 million. It is to
                   reflect a slightly more uncertainty compared to the last time. But our Europe
15                 business is doing incredibly well. We grew 25% in one quarter from Q4 to
                   Q1. We have doubled – we doubled from 2020 to 2021. From 2021 to 2022,
16                 we grew 132%. I just released my annual letter yesterday. You can see that
                   132% growth from 2021 to 2022. And so Europe is doing incredibly well for
17                 us. We are focused on entering a lot more countries there. We are focused
                   on IQ8 microinverters. We’re focused on IQ batteries, lots of regions big
18                 market over 10 gigawatts compared to the U.S., which is 5 gigawatts right
                   now. So bottom line, we are pretty conservative.
19
                   [Analyst:] Got it. And then I mean you do have the wide range, but it did
20                 seem in your commentary that you do expect improvement versus the first
                   quarter. I mean, so is it fair to say that your expectation would be that the top
21                 half of that range?
22                 [Kothandaraman:] I mean we gave guidance, $700 million to $750 million.
                   And there’s nothing else, we cannot say we are in the top half of the range.
23

24          76.    On this news, the Company’s stock price dropped $56.77, or almost 26%, from a

25 closing price of $220.60 per share on April 25, 2023, to close at $163.83 per share on April 26, 2023,

26 on unusually heavy trading volume.

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 1                       AN INVESTOR FILES A SECURITIES CLASS ACTION

 2            77.     On July 15, 2024, a purported purchaser of Company stock filed a securities class

 3 action complaint, captioned Hayes v. Enphase Energy, Inc., et al., Case No. 3:24-cv-04249, in the

 4 United States District Court for the Northern District of California against Enphase Energy,

 5 Kothandaraman, and Yang (the “Securities Class Action”). The Hayes Complaint alleges that

 6 throughout the class period of December 12, 2022 through April 25, 2023, that Enphase and the

 7 Securities Action Defendants made materially false and/or misleading statements, failing to disclose

 8 material adverse facts about the Company’s business, operations, and prospects. Specifically, it is
 9 alleged that the defendants made material misrepresentations and omissions of material fact by

10 failing to disclose that battery shipments were slowing, the Company was suffering from a lower

11 transition rate in California and a slower output of inverters, and trumpeting Enphase’s Arizona and

12 Florida’s microinverter deployments when they were being harmed by rising interest rates. The

13 Securities Class Action is in its early stages.

14             ENPHASE REPURCHASES SHARES DURING THE RELEVANT PERIOD
15            78.     During the Relevant Period, the Individual Defendants caused the Company to

16 repurchase its common stock at artificially inflated prices. In total, during the Relevant Period, the

17 Company spent over $24.45 million to repurchase 148,557 shares of stock at artificially inflated

18 prices. The actual value of the Company’s stock was $163.83 per share, as of closing on April 26,

19 2023, therefore, Enphase should have spent approximately $24.34 million to repurchase its stock

20 during the Relevant Period. As a result of the overpayment, Enphase suffered damages in the amount

21 of approximately $114,389.

22            79.     The following chart details the Company’s repurchase transactions during the

23 Relevant Period: 2

24

25

26

27   2
         Upon information and belief, the shares were repurchased during the Relevant Period.
                                                       31
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                                                                    Total Actual
 1                            Average
                  Number of                            Total          Value of
      Repurchase             Repurchase
 2                 Shares                            Repurchase     Repurchased          Overpayment
        Period                Price Per
                 Repurchased                          Amount           Shares
                               Share
 3                                                                    ($163.83)
      April 2023     148,557         $164.60        $24,452,482.20 $24,338,093.31        $114,388.89
 4

 5                   THE INDIVIDUAL DEFENDANTS’ MISCONDUCT
              DIRECTLY AND PROXIMATELY CAUSES DAMAGES TO ENPHASE
 6

 7          80.    As a result of the Individual Defendants’ improprieties, Enphase disseminated
 8 improper public statements concerning Enphase’s operations, prospects, and internal controls. This
 9 misconduct has devastated Enphase’s credibility.

10          81.    As a direct and proximate result of the Individual Defendants’ actions, Enphase has
11 expended, and will continue to expend, significant sums of money defending and paying any

12 settlement in the Securities Class Action.

13          82.    As a direct and proximate result of the Individual Defendants’ actions as alleged
14 above, Enphase’s market capitalization has been substantially damaged, losing millions of dollars in

15 value because of the conduct described herein.

16          83.    Lastly, the actions of the Individual Defendants have irreparably damaged Enphase’s
17 corporate image and goodwill. For at least the foreseeable future, Enphase will suffer from what is

18 known as the “liar’s discount,” a term applied to the stocks of companies that have been implicated

19 in illegal behavior and have misled the investing public, such that Enphase’s ability to raise equity

20 capital or debt on favorable terms in the future is now impaired.

21            CONSPIRACY, AIDING AND ABETTING, AND CONCERTED ACTION
22          84.    In committing the wrongful acts alleged herein, the Individual Defendants have
23 pursued, or joined in the pursuit of, a common course of conduct, and have acted in concert with and

24 conspired with one another in furtherance of their wrongdoing. The Individual Defendants caused

25 the Company to conceal the true facts as alleged herein. The Individual Defendants further aided and

26 abetted and/or assisted each other in breaching their respective duties.

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 1          85.     The purpose and effect of the conspiracy, common enterprise, and/or common course

 2 of conduct were, among other things, to (i) facilitate and disguise the Individual Defendants’

 3 violations of law, including breaches of fiduciary duty and unjust enrichment; (ii) conceal adverse

 4 information concerning the Company’s operations, financial condition, future business prospects

 5 and internal controls; and (iii) artificially inflate the Company’s stock price.

 6          86.     The Individual Defendants accomplished their conspiracy, common enterprise,

 7 and/or common course of conduct by causing the Company purposefully, recklessly, or with gross

 8 negligence to engage in improper accounting methods, conceal material facts, fail to correct such
 9 misrepresentations, and violate applicable laws. In furtherance of this plan, conspiracy, and course

10 of conduct, the Individual Defendants collectively and individually took the actions set forth herein.

11 The Individual Defendants described herein were direct, necessary, and substantial participants in

12 the common enterprise, and/or common course of conduct complained here because the action

13 described herein occurred under the authority and approval of the Board.

14          87.     Each of the Individual Defendants aided, abetted, and rendered substantial assistance
15 in the wrongs complained of herein. In taking such actions to substantially assist the commission of

16 the wrongdoing complained of herein, each of the Individual Defendants acted with actual or

17 constructive knowledge of the primary wrongdoing, either took direct part in or substantially assisted

18 the accomplishment of that wrongdoing and was or should have been aware of his or her overall

19 contribution to and furtherance of the wrongdoing.

20          88.     At all times relevant hereto, each of the Individual Defendants was the agent of each

21 of the other Individual Defendants and Enphase and was at all times acting within the course and

22 scope of such agency.

23                 PLAINTIFF HAS BEEN A STOCKHOLDER SINCE THE
              ALLEGED WRONGDOING AND WILL FAIRLY AND ADEQUATELY
24          REPRESENT THE COMPANY’S AND ITS STOCKHOLDERS’ INTERESTS

25          89.     Plaintiff incorporates by reference and realleges each and every allegation set forth

26 above as though fully set forth herein.

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 1          90.    Plaintiff brings this action derivatively in the right and for the benefit of the Company

 2 to redress the Individual Defendants’ misconduct.

 3          91.    Plaintiff is an owner of Enphase common stock and has been an owner of Enphase

 4 common stock since the wrongdoing alleged herein.

 5          92.    Plaintiff will adequately and fairly represent the interests of the Company and its

 6 stockholders in enforcing and prosecuting the Company’s rights.

 7                                        DEMAND IS FUTILE

 8          93.    Plaintiff incorporates by reference and realleges each and every allegation set forth
 9 above as though fully set forth herein.

10          94.    As a result of the facts set forth herein, Plaintiff has not made any demand on the
11 Enphase Board to institute this action against the Individual Defendants. Such a demand would be

12 a futile and useless act because the Board is incapable of making an independent and disinterested

13 decision to institute and vigorously prosecute this action.

14          95.    At the time Plaintiff commenced this action, the Board consisted of the seven Director
15 Defendants: Kothandaraman, Gomo, Haenggi, Kortlang, Malchow, Mora, and Rodgers.                     The
16 Director Defendants are incapable of making an independent and disinterested decision to institute

17 and vigorously prosecute this action as explained herein.

18          Demand Is Futile Because the Director Defendants
            Each Face a Substantial Likelihood of Personal Liability
19

20          96.    The Director Defendants all face a substantial likelihood of liability for their

21 individual misconduct. The Director Defendants were directors during the time the false and

22 misleading statements were issued and, as such, had a fiduciary duty to ensure the accuracy of the

23 Company’s SEC filings, press releases, and other public statements and presentations concerning

24 Enphase’s business, operations, prospects, internal controls, and financial statements.

25          97.    Moreover, the Director Defendants owed and owe a duty to, in good faith and with

26 due diligence, exercise reasonable inquiry, oversight, and supervision to ensure that the Company’s

27 internal controls were sufficiently robust and effective and were being implemented effectively, and
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 1 to ensure that the Board’s duties were being discharged in good faith and with the required diligence

 2 and due care. Instead, they knowingly and/or with reckless disregard reviewed, authorized, and/or

 3 caused the publication of the materially false and misleading statements discussed above that caused

 4 the Company’s stock to trade at artificially inflated prices.

 5          98.     The Director Defendants also approved the 2023 Proxy Statement and, therefore, face

 6 a substantial likelihood of personal liability because of the false and misleading statements contained

 7 therein.

 8          99.     The Director Defendants face a substantial likelihood of personal liability because of
 9 their knowing and/or reckless authorization of false and misleading statements, their failure to timely

10 correct such statements, their failure to take necessary and appropriate steps to ensure that the

11 Company’s internal controls were sufficiently robust and effective and were being implemented

12 effectively, and their failure to take necessary and appropriate steps to ensure that the Board’s duties

13 were being discharged in good faith and with the required diligence constitute breaches of the

14 fiduciary duties of loyalty and good faith, for which the Director Defendants face a substantial

15 likelihood of liability.

16          100.    If the Director Defendants were to bring a suit on behalf of Enphase to recover
17 damages sustained as a result of this misconduct, they would expose themselves to significant

18 liability. For this reason, it would be futile for Plaintiff to make a demand.

19         The Audit Committee Defendants Face a Greater Likelihood of Personal Liability

20          101.    The Audit Committee Defendants (Gomo, Kortlang, and Mora), as members of the

21 Audit Committee during the Relevant Period, participated in and knowingly and/or with reckless

22 disregard approved the filing of false financial statements. More specifically, as members of the

23 Audit Committee, the Audit Committee Defendants were obligated to review the Company’s annual

24 and quarterly reports to ensure their accuracy. Instead, the Audit Committee Defendants, as

25 members of the Audit Committee, failed to ensure the integrity of the Company’s financial

26 statements and financial reporting process and its systems of internal accounting and financial

27 controls and other financial information provided by the Company, as required by the Audit
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 1 Committee Charter. For this reason, the Audit Committee Defendants cannot exercise disinterested

 2 business judgment in considering a demand.

 3          Additional Demand Futility Allegations

 4          102.    Defendant Kothandaraman is not an independent director. Indeed, the 2023 Proxy

 5 Statement specifically states that Kothandaraman is not an independent director pursuant to Nasdaq

 6 listing rules because of his position as CEO of Enphase. Moreover, for the Company’s fiscal year

 7 2023, Kothandaraman received over $19.5 million in compensation, including based salary, stock

 8 awards, and non-equity incentive plan compensation.           For the Company’s fiscal year 2022,
 9 Kothandaraman received over $16.6 million in compensation, including salary stock awards, and

10 non-equity incentive plan compensation. These amounts are material to Kothandaraman, and

11 therefore, he would not be able to impartially consider a demand against members of the Board who

12 approve his executive compensation. Accordingly, demand is futile as to defendant Kothandaraman.

13          103.    In addition, Kothandaraman is a named defendant in the Securities Class Action,
14 which asserts claims under the federal securities laws for violations of Sections 10(b) and 20(a) of

15 the Exchange Act as well as SEC Rule 10b-5 promulgated under the Exchange Act. If the Company

16 is found liable in the Securities Class Action for these violations of the federal securities laws, the

17 Company’s liability will be in whole or in part due to defendant Kothandaraman’s willful and/or

18 reckless violations of his obligations as CEO and director of Enphase.               Hence, defendant

19 Kothandaraman is incapable of considering a demand to commence and vigorously prosecute this

20 action because he faces an even greater likelihood of personal liability than the rest of the Individual

21 Defendants.

22          104.    Moreover, as explained in more detail below, Kothandaraman and Rodgers have a

23 longstanding personal and business relationship.         Thus, defendant Kothandaraman could not

24 exercise independent business judgment against Rodgers in considering a demand to investigate and

25 prosecute this action.

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 1           105.   Defendant Malchow is not independent. The 2023 Proxy Statement clearly states

 2 that he is not independent as defined under the applicable Nasdaq listing standards due to his service

 3 as a consultant for Enphase.

 4           106.   Because of his positions as a member of the Board and the Audit Committee,

 5 defendant Mora possessed material non-public information regarding Enphase’s lower battery

 6 shipment and adoption; the harmful impact of rising interest rates on the Company’s microinverter

 7 deployments to Arizona and Florida; decreased battery shipments to Europe and California;

 8 extended transition period with NEM 3.0; and slower inverter output from newly created U.S.-based
 9 manufacturing lines.

10           107.   Defendant Mora unlawfully misused this information and unjustly enriched himself
11 by selling his shares of Enphase stock at artificially inflated prices. As a result, Mora’s conduct

12 harmed Enphase as he unjustly enriched himself at the Company’s expense. Accordingly, because

13 this action asserts claims for unjust enrichment against Mora, and because he faces a substantial

14 likelihood of liability for these claims as well as for their breaches of fiduciary duty to the Company,

15 defendant Mora is incapable of considering a demand to commence and vigorously prosecute this

16 action.

17           108.   Defendants Gomo, Malchow, and Rodgers have a longstanding business and personal
18 relationship that predates to at least 2020. Accordingly, based on their personal and business

19 relationship, Gomo, Malchow, and Rodgers could not exercise independent business judgment in

20 considering a demand to investigate and prosecute this action.

21           109.   More specifically, from September 2020 to July 2021, Rodgers served as the

22 Chairman of the board of directors and CEO of Rodgers Silicon Valley Acquisition Corp. (“Rodgers

23 SVAC”), a special purpose acquisition company, and from December 2020 to July 2021, Gomo and

24 Malchow served on the board of directors of Rodgers SVAC.

25           110.   In July 2021, Gomo, Malchow, and Rodgers, as members of the board of Rodgers

26 SVAC, approved and profited from its business combination with Enovix Corporation (“Enovix”).

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 1 Rodgers has served as Chairman of the board of directors of Enovix since the business combination,

 2 while Malchow has served as a member of Enovix’s board of directors since June 2023.

 3          111.    Moreover, Gomo, Malchow, and Rodgers are named defendants in a securities action

 4 captioned In re Enovix Corporation Securities Litigation, Case No. 3:23-cv-00071-SI, filed in the

 5 United States District Court for the Northern District of California, alleging that throughout the class

 6 period of June 24, 2021 to October 2, 2023, defendants made materially false and/or misleading

 7 statements and failed to disclose material adverse facts about the Enovix’s business, operations, and

 8 prospects. Thus, Gomo, Malchow, and Rodgers are incapable of commencing and prosecuting this
 9 action because it will subject them to additional potential liability in the Enovix action.

10          112.    Additionally, defendants Rodgers and Kothandaraman have a long-standing business
11 and personal relationship that spans at least twenty years. Accordingly, based on their personal and

12 business relationship, Kothandaraman and Rodgers could not exercise independent business

13 judgment in considering a demand to investigate and prosecute this action.

14          113.    Specifically, defendant Rodgers founded Cypress Semiconductor Corporation
15 (“Cypress Semiconductor”) in 1982 and served as the President, CEO and as a member of its board

16 of directors until April 2017. Prior to Enphase, defendant Kothandaraman served as Executive Vice

17 President of the Data Communications Division of Cypress Semiconductor, from April 2011 to

18 September 2016. Kothandaraman started his career with Cypress Semiconductor in 1995 and

19 worked in process technology development and chip design before becoming Vice President of the

20 Asynchronous SRAM Business in 2008. He was subsequently promoted to executive vice president

21 of Cypress Semiconductor’s Data Communications Division in November 2011. Kothandaraman

22 also served as the Executive Director of Cypress Semiconductor Technology India Private Limited

23 from 2012 to 2016.

24                                    FIRST CAUSE OF ACTION
                    Against the Individual Defendants for Breach of Fiduciary Duties
25

26          114.    Plaintiff incorporates by reference and realleges each and every allegation set forth

27 above as though fully set forth herein.
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 1          115.      Each Individual Defendant owed to the Company the duty to exercise candor, good

 2 faith, and loyalty in the management and administration of Enphase’s business and affairs.

 3          116.      Each of the Individual Defendants violated and breached his or her fiduciary duties

 4 of candor, good faith, loyalty, reasonable inquiry, oversight, and supervision.

 5          117.      The Individual Defendants’ conduct set forth herein was due to their intentional or

 6 reckless breach of the fiduciary duties they owed to the Company. The Individual Defendants

 7 intentionally or recklessly breached or disregarded their fiduciary duties to protect the rights and

 8 interests of Enphase.
 9          118.      In breach of their fiduciary duties owed and owe to Enphase, the Individual
10 Defendants willfully or recklessly made, or caused or permitted the Company to make, false and

11 misleading statements and omissions of material fact that failed to disclose the Company was

12 experiencing, inter alia, (i) slower battery shipment and adoption, including decreased battery

13 shipments to Europe and California; (ii) harmful impact due to the rising interest rates on the

14 Company’s microinverter deployments to Arizona and Florida; (iii) an extended transition period

15 with NEM 3.0; and (iv) slower inverter output from newly created U.S.-based manufacturing lines.

16          119.      Accordingly, Enphase’s public statements were materially false, misleading, and
17 lacked a reasonable basis during the Relevant Period, thereby causing the stock to trade at artificially

18 inflated prices.

19          120.      The Individual Defendants failed to and caused the Company to fail to rectify any of

20 the wrongs described herein or correct the false and misleading statements and omissions of material

21 fact referenced herein, thereby, rendering themselves personally liable to the Company for breaching

22 their fiduciary duties.

23          121.      The Individual Defendants also failed to maintain an adequate system of oversight,

24 disclosure controls and procedures, and internal controls in breach of their fiduciary duties.

25          122.      The Individual Defendants had actual or constructive knowledge that the Company

26 issued materially false and misleading statements, and they failed to correct the Company’s public

27 statements.     The Individual Defendants had actual knowledge of the misrepresentations and
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 1 omissions of material facts set forth herein or acted with reckless disregard to the truth in that they

 2 failed to ascertain and disclose such facts even though such facts were available to them. Such

 3 material misrepresentations and omissions were committed knowingly or recklessly and for the

 4 purpose and effect of artificially inflating the price of the Company’s securities.

 5          123.   The Individual Defendants had actual or constructive knowledge that they had caused

 6 the Company to improperly engage in the fraudulent schemes set forth herein and to fail to maintain

 7 adequate internal controls. The Individual Defendants had actual knowledge that the Company was

 8 engaging in the fraudulent schemes set forth herein, and that internal controls were not adequately
 9 maintained or acted with reckless disregard for the truth in that they caused the Company to

10 improperly engage in the fraudulent schemes and to fail to maintain adequate internal controls, even

11 though such facts were available to them. Such improper conduct was committed knowingly or

12 recklessly and for the purpose and effect of artificially inflating the price of the Company’s

13 securities. The Individual Defendants, in good faith, should have taken appropriate action to correct

14 the schemes alleged herein and to prevent them from continuing to occur.

15          124.   These actions were not a good-faith exercise of prudent business judgment to protect
16 and promote the Company’s corporate interests.

17          125.   As a direct and proximate result of the Individual Defendants’ breaches of their
18 fiduciary obligations, Enphase has sustained and continues to sustain significant damages. As a

19 result of the misconduct alleged herein, the Individual Defendants are liable to the Company.

20                                   SECOND CAUSE OF ACTION
                                  Against the Individual Defendants for
21                   Violations of Section 10(b) of the Exchange Act and Rule 10b-5
22          126.   Plaintiff incorporates by reference and realleges each and every allegation set forth

23 above as though fully set forth herein.

24          127.   The Individual Defendants are liable to the Company because they violated Section

25 10(b) of the Exchange Act and Rule 10b-5 promulgated thereunder by the SEC.

26          128.   The Individual Defendants did the following while acting individually and

27 collectively:
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 1                  (a)     employed devises, schemes, and artifices to defraud;

 2                  (b)     made untrue statements of material fact or omitted to state material facts

 3                          necessary in order to make the statements made, in light of the circumstances

 4                          under which they were made, not misleading; or

 5                  (c)     engaged in acts, practices, and a course of business that operated as a fraud or

 6                          deceit upon the Company in connection with its purchases of Enphase

 7                          common stock during the Relevant Period.

 8          129.    As set forth above, the Individual Defendants disseminated or approved the
 9 dissemination of materially false and misleading statements while also failing to disclose material

10 facts necessary to make the statements made not misleading under the circumstances.

11          130.    The Individual Defendants knew or recklessly disregarded facts showing that these
12 statements were false and misleading because they received or had access to such information.

13          131.    As a result of the Individual Defendants’ making these materially false and
14 misleading statements or permitting them to be made, Enphase’s common stock traded at artificially

15 inflated prices during the Relevant Period.

16          132.    As discussed above, the Company spent over $24.45 million purchasing 148,557
17 shares of Enphase common stock at artificially inflated prices during the Relevant Period when it

18 should have spent around $24.34 million for that number of shares.

19          133.    Accordingly, the Company has suffered damages because it paid artificially inflated

20 prices for Enphase common stock.

21          134.    As a result of the foregoing, the Individual Defendants violated Section 10(b) of the

22 Exchange Act and Rule 10b-5 promulgated thereunder.

23                                   THIRD CAUSE OF ACTION
                                Against the Securities Action Defendants
24                 for Contribution Under Sections 10(b) and 21D of the Exchange Act
25          135.    Plaintiff incorporates by reference and realleges each and every allegation set forth

26 above as though fully set forth herein.

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 1          136.   Enphase along with the Securities Action Defendants (Kothandaraman and Yang) are

 2 named as defendants in the Securities Class Action, which asserts claims under the federal securities

 3 laws for violations of Sections 10(b) and 20(a) of the Exchange Act and SEC Rule 10b-5

 4 promulgated thereunder. If the Company is found liable in the Securities Class Action for these

 5 violations of the federal securities laws, the Company’s liability will be in whole or in part due to

 6 the Securities Action Defendants’ willful and/or reckless violations of their obligations as officers

 7 and/or directors of Enphase.

 8          137.   Because of their positions of control and authority as officers and/or directors of
 9 Enphase, the Securities Class Action Defendants were able to and did, directly and/or indirectly,

10 exercise control over the business and corporate affairs of Enphase, including the wrongful acts

11 complained of herein and in the Securities Class Action.

12          138.   Accordingly, the Securities Action Defendants are liable under Section 10(b) of the
13 Exchange Act, 15 U.S.C. § 78j(b), which creates an implied private right of action for contribution,

14 Section 21D of the Exchange Act, 15 U.S.C. § 78u-4(f), which governs the application of a private

15 right of action for contribution arising out of violations of the Exchange Act.

16          139.   As such, Enphase is entitled to receive all appropriate contribution or indemnification
17 from the Securities Action Defendants.

18                                   FOURTH CAUSE OF ACTION
                                  Against the Individual Defendants for
19                    Violation of § 14(a) of the Exchange Act and SEC Rule 14a-9
20          140.   Plaintiff incorporates by reference and realleges each and every allegation set forth

21 above as though fully set forth herein.

22          141.   Rule 14a-9, promulgated pursuant to Section 14(a) of the Exchange Act, provides

23 that no proxy statement shall contain “any statement which, at the time and in the light of the

24 circumstances under which it is made, is false or misleading with respect to any material fact, or

25 which omits to state any material fact necessary in order to make the statements therein not false or

26 misleading.” 17 C.F.R. § 240.14a-9.

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 1          142.    The 2023 Proxy Statement violated Section 14(a) and Rule 14a-9 because it solicited

 2 Enphase stockholder votes for, inter alia, director reelection, while simultaneously misrepresenting

 3 and/or failing to disclose the Company’s shortcomings as discussed above.

 4          143.    The Individual Defendants made untrue statements of material facts and omitted to

 5 state material facts necessary to make the statements that were made not misleading in violation of

 6 Section 14(a) and Rule 14a-9. By virtue of their positions within the Company and roles in the

 7 process and in the preparation of the 2023 Proxy Statement, the Individual Defendants were aware

 8 of this information and of their duty to disclose this information in the 2023 Proxy Statement.
 9          144.    In the exercise of reasonable care, the Individual Defendants should have known that
10 the statements contained in the 2023 Proxy Statement were materially false and misleading.

11          145.    The omissions and false and misleading statements in the 2023 Proxy Statement are
12 material in that a reasonable stockholder would consider them important in deciding how to vote on

13 the re-election of directors. Indeed, a reasonable investor would view a full and accurate disclosure

14 as significantly altering the “total mix” of information made available in the 2023 Proxy Statement

15 and in other information reasonably available to stockholders.

16          146.    As a direct and proximate result of the dissemination of the false and misleading
17 2023 Proxy Statement that the Individual Defendants used to obtain stockholder approval of and

18 thereby re-elect directors, nominal defendant Enphase suffered damage and actual economic losses

19 (i.e., wrongful re-election of directors) in an amount to be determined at trial.

20                                    FIFTH CAUSE OF ACTION
                        Against the Individual Defendants for Unjust Enrichment
21

22          147.    Plaintiff incorporates by reference and realleges each and every allegation set forth

23 above as though fully set forth herein.

24          148.    By their wrongful acts, violations of law, and false and misleading statements and

25 omissions of material fact that they made or caused to be made, the Individual Defendants were

26 unjustly enriched at the expense of, and to the detriment of, Enphase.

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 1          149.    The Individual Defendants benefitted financially from the improper conduct,

 2 received unjustly lucrative bonuses tied to the false and misleading statements, and received

 3 bonuses, stock options, or similar compensation from Enphase that was tied to the performance or

 4 artificially inflated valuation of Enphase, or received compensation that was unjust in light of the

 5 Individual Defendants’ bad faith conduct.

 6          150.    Plaintiff, as a stockholder and representative of Enphase, seeks restitution from the

 7 Individual Defendants and seeks an order from this Court disgorging all profits—including from

 8 insider sales, benefits, and other compensation, including any performance-based or valuation-based
 9 compensation—obtained by the Individual Defendants from their wrongful conduct and breach of

10 their fiduciary and contractual duties.

11          151.    Plaintiff, on behalf of Enphase, has no adequate remedy at law.
12                                    SIXTH CAUSE OF ACTION
                    Against the Individual Defendants for Waste of Corporate Assets
13

14          152.    Plaintiff incorporates by reference and realleges each and every allegation set forth

15 above, as though fully set forth herein.

16          153.    As a further result of the foregoing, the Company will incur many millions of dollars

17 of legal liability and/or costs to defend legal actions (evidenced, for example, by the Securities Class

18 Action), to engage in internal investigations, and to lose financing from investors and business from

19 future customers who no longer trust the Company and its products.

20          154.    As a result of the waste of corporate assets, the Individual Defendants are each liable

21 to the Company.

22          155.    Plaintiff, on behalf of Enphase, has no adequate remedy at law.

23                                  SEVENTH CAUSE OF ACTION
                       Against the Individual Defendants for Aiding and Abetting
24

25          156.    Plaintiff incorporates by reference and realleges each and every allegation set forth

26 above, as though fully set forth herein.

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 1           157.   Each of the Individual Defendants acted and is acting with knowledge of, or with

 2 disregard to, the fact that the Individual Defendants are in breach of their fiduciary duties to Enphase

 3 and has participated in a conspiracy in breach of fiduciary duties.

 4           158.   In committing the wrongful acts alleged herein, each of the Individual Defendants

 5 has pursued, or joined in the pursuit of, a common course of conduct. The Individual Defendants

 6 have acted in concert with and conspired with one another in furtherance of their common plan or

 7 design. In addition to pursuing the wrongful conduct that gives rise to their primary liability, the

 8 Individual Defendants also aided, abetted, and assisted each other in breaching their respective
 9 duties.

10           159.   The Individual Defendants collectively and individually initiated and followed a
11 course of conduct that violated the federal securities laws; authorized corporate actions to serve their

12 own personal interests rather than the interests of the Company and its stockholders; misrepresented

13 material facts about the Company, its financial condition, and business prospects; prevented the

14 disclosure of material information necessary to make statements complete and accurate; and failed

15 to implement and maintain an adequate system of internal controls and corporate governance

16 practices.

17           160.   The purpose and effect of the Individual Defendants’ conspiracy, common enterprise,
18 and common course of conduct was, among other things, to disguise the Defendants’ violations of

19 law, including violations of the federal securities laws and breaches of fiduciary duty.

20           161.   Each of the Individual Defendants played a direct, necessary, and substantial part in

21 the conspiracy, common enterprise, and common course of conduct complained of herein.

22           162.   Each of the Individual Defendants aided, abetted, and rendered substantial assistance

23 in the wrongs complained of herein. In taking such actions to substantially assist the commission of

24 the wrongdoing complained of herein, the Individual Defendants acted with knowledge of the

25 primary wrongdoing, substantially assisted the accomplishment of that wrongdoing, and were aware

26 of their overall contributions to and furtherance of the wrongdoing.

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                                     EIGHTH CAUSE OF ACTION
 1                 Against Mora for Insider Selling and Misappropriation of Information
 2          163.     Plaintiff incorporates by reference and realleges each and every allegation set forth

 3 above, as though fully set forth herein.

 4          164.     At the time of his stock sales set forth herein, defendant Mora knew of the information

 5 described above and sold Enphase common stock on the basis of such information.

 6          165.     The information described above was proprietary non-public information concerning

 7 the Company. It was a proprietary asset belonging to the Company, which Mora used for his own

 8 benefit when he sold Enphase common stock.
 9          166.     Defendant Mora’s sale of Company common stock while in possession and control
10 of this material adverse non-public information was a breach of his fiduciary duties of loyalty and

11 good faith.

12          167.     Because the use of the Company’s proprietary information for his own gain
13 constitutes a breach of defendant Mora’s fiduciary duties, the Company is entitled to the imposition

14 of a constructive trust on any profits that Mora obtained thereby.

15                                         PRAYER FOR RELIEF
16          WHEREFORE, Plaintiff demands judgment as follows:

17          A.       Declaring that Plaintiff may maintain this derivative action on behalf of Enphase and

18 that Plaintiff is a proper and adequate representative of the Company;

19          B.       Awarding the amount of damages sustained by the Company as a result of the

20 Individual Defendants’ breaches of fiduciary duties and violations of the federal securities laws;

21          C.       Ordering Mora to disgorge monies obtained as a result of his sale of Enphase stock

22 while in possession of insider information as described herein;

23          D.       Awarding prejudgment interest to the Company;

24          E.       Granting appropriate equitable relief to remedy Individual Defendants’ breaches of

25 fiduciary duties and other violations of law;

26          F.       Awarding to Plaintiff the costs and disbursements of the action, including reasonable

27 attorneys’ fees, accountants’ and experts’ fees and costs and expenses; and
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 1        G.     Granting such other and further relief as the Court deems just and proper.

 2                                   JURY TRIAL DEMANDED

 3        Plaintiff hereby demands a trial by jury.

 4

 5   Dated: September 5, 2024                         Respectfully submitted,

 6                                                    /s/ Marion C. Passmore
                                                      Marion C. Passmore (SBN 228474)
 7                                                      passmore@bespc.com
                                                      Melissa A. Fortunato (SBN 319767)
 8                                                      fortunato@bespc.com
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 9                                                    580 California Street, Suite 1200,
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10                                                    Telephone: (415)568-2124
                                                      Facsimile: (212) 214-0506
11
                                                      Attorneys for Plaintiff
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                                         VERIFICATION

       I, Edwin Isaac, declare that I have reviewed the Verified Stockholder Derivative Complaint

(“Complaint”) prepared on behalf of Enphase Energy, Inc., and authorize its filing. I have

reviewed the allegations made in the Complaint, and as to those allegations of which I have

personal knowledge, I believe those allegations to be true. As to those allegations of which I do

not have personal knowledge, I rely on my counsel and their investigation and, for that reason,

believe them to be true. I further declare that I am a current holder of Enphase Energy, Inc. stock

and have continuously held Enphase Energy, Inc. stock from the time of the wrongdoing alleged

herein until the present. I declare under penalty of perjury that the foregoing is true and correct.

       Executed this ___ day of September 2024.



                                                      Edwin Isaac
